






NO. 07-02-0389-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



DECEMBER 3, 2003



______________________________




VINCE LEE SIMNACHER, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE COUNTY COURT OF LAMB COUNTY;



NO. 13,563; HONORABLE DANNY BYERS, JUDGE



_______________________________



Before QUINN and REAVIS, JJ., and BOYD, S.J. (1)

	On June 25, 2002, after a bench trial, appellant Vince Lee Simnacher was found
guilty of the offense of driving while intoxicated and his punishment was assessed at 180
days confinement in the Lamb County Jail, probated under community supervision for a
period of 730 days.  An appeal from that conviction was timely perfected and the clerk's
and reporter's records were filed with this court.  However, no further action has been
taken by this court or by the parties in connection with the appeal.

	We have now been furnished with a suggestion of death by the State with a certified
copy of a death certificate attached showing that appellant was killed on October 10, 2003. 
The death of appellant during the pendency of his appeal deprives this court of jurisdiction. 
See Vargas v. State, 659 S.W.2d 422 (Tex. Crim. App. 1983).

	Because of the lack of jurisdiction to enter any other order, this appeal must be, and
is hereby, permanently abated and no further proceedings in this court or the court below
may be taken.  See id. at 423.

	It is so ordered.

							John T. Boyd

							Senior Justice


Do not publish.

	

   
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by
assignment.  Tex. Gov't Code Ann. §75.002(a)(1) (Vernon Supp. 2003). 


